Case 2:03-cV-02543-.]DB-tmp Document 90 Filed 05/10/05 Page 1 of 2 Page|D 79

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UNITED STA TES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE 85th-at |U PH != 32

 

 

WESTERN DIVISION ,»?OBE,_{, w m
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CHERIE LINDBERG, .]UDGN]ENT IN A CIVIL CASE
Plaintiff,
V¢
UT MEDICAL GROUP, INC., and CASE NO: 03-2543-B

UT MEDICAL GROUP MEDICAL
AND DENTAL GROUP BENEFIT PLAN,

Defendants.

 

DECISION BY COURT. This action came to consideration before the Court. The issues have
been considered and a decision has been rendered

IT IS SO ORDERED AND ADJUDGED that in accordance with the orders of this Court and
the decision of the UT Medical Group Plan Ad ministrator on remand, resulting in the Plaintiff
obtaining the relief sought, this action is hereby dismissed with judgment entered in favor of
the Plaintiff, Cherie Lindberg, for an award of attorney’s fees pursuant to the Order Granting
Plaintiff’s Motion For Award Of Attorney’s Fees And Costs entered on April 28, 2005.

AP R VED:

 

MNIEL BREEN
MED STATES DISTRICT COURT

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(By) Deputy Cle
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with ama 58 and/or 79(3) FacP on :§“ l ll 05 :

 

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This notice confirms a copy of the document docketed as number 90 in
case 2:03-CV-02543 Was distributed by faX, mail, or direct printing on
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Honorable J. Breen
US DISTRICT COURT

